 Case
  Case2:08-cv-01174-PMP-GWF
       2:08-cv-01174-PMP-GWF Document
                             Document 139
                                      138              Filed 11/18/10
                                                       Filed 11/19/10 Page
                                                                       Page1 1ofof4 4




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 7   Attorneys for Gregory Ricks and
     Gee Whiz Domains, Inc.
 8

 9                            UNITED STATES DISTRICT COURT
10                                     DISTRICT OF NEVADA
11
     GREGORY RICKS, an individual,                     ) Case No.: 2:08-cv-01174-PMP-GWF
12                                                     )
                    Plaintiff/Counterdefendant,        )
13                                                     ) STIPULATION AND ORDER FOR
     vs.                                               ) DISMISSAL WITH PREJUDICE
14                                                     )
     BMEZINE.COM. LLC, a Nevada limited liability      )
15   company,                                          )
                                                       )
16                    Defendant/Counterclaimant.       )
                                                       )
17                                                     )
                                                       )
18   BMEZINE.COM, LLC, a Nevada limited liability      )
     company                                           )
19                                                     )
                    Third Party Plaintiff,             )
20                                                     )
     vs.                                               )
21                                                     )
     GEE WHIZ DOMAINS, INC., a Nevada                  )
22   corporation                                       )
                                                       )
23                    Third Party Defendant.           )
                                                       )
24

25   ///
26   ///
27   ///
28   ///
     RRG-w-1897                                    1
 Case
  Case2:08-cv-01174-PMP-GWF
       2:08-cv-01174-PMP-GWF Document
                             Document 139
                                      138                     Filed 11/18/10
                                                              Filed 11/19/10 Page
                                                                              Page2 2ofof4 4




 1          WHEREAS, this matter has been resolved by the mutual agreement of the parties,

 2   Plaintiff/Counterdefendant      GREGORY         RICKS,    Defendant/Counterclaimant/Third    Party

 3   Plaintiff BMEZINE.COM, LLC, and Third Party Defendant GEE WHIZ DOMAINS, INC.,

 4   hereby stipulate to the dismissal of this action with prejudice as follows:

 5          1.         That all claims and counterclaims relating to this action are dismissed WITH

 6   PREJUDICE;

 7          2.         That each Party shall bear its own attorney's fees and costs;

 8          3.         That this ORDER shall resolve this entire matter and act as a FINAL ORDER of

 9   this Court; and

10          4.         That upon the entry of this ORDER this matter shall be closed by this Court.

11

12          DATED this 18th day of November, 2009.

13
       WEIDE & MILLER, LTD.                              RANDAZZA LEGAL GROUP
14

15
     By:___/s/Ryan Gile__________________                By:___/s/Marc J. Randazza______________
16     Mark Borghese, Esq.                                 Marc J. Randazza, Esq.
       Ryan Gile, Esq.                                     2 S. Biscayne Boulevard, Suite 2600
17     7251 W. Lake Mead Blvd., Suite 530                  Miami, FL 33131
       Las Vegas, NV 89128                                 Attorneys for BMEzine.com, LLC
18
       Attorneys for Gregory Ricks and
19     Gee Whiz Domains, Inc.

20
                                              ORDER
21
                                              IT IS SO ORDERED:
22

23

24
                                              ____________________________________
                                              ________________________
25                                            UNITED STATES DISTRICT JUDGE
26
                                                         November 19, 2010
27                                            DATED:

28
     RRG-w-1897                                         2
 Case
  Case2:08-cv-01174-PMP-GWF
       2:08-cv-01174-PMP-GWF Document
                             Document 139
                                      138                 Filed 11/18/10
                                                          Filed 11/19/10 Page
                                                                          Page3 3ofof4 4




 1                                   CERTIFICATE OF SERVICE
 2          I am a resident of and employed in Clark County, Nevada. I am over the age of 18 years

 3   and not a party to the within action. My business address is: 7251 West Lake Mead Blvd., Suite

 4   530, Las Vegas, Nevada, 89128.

 5          On November 18, 2010, I served this document on the parties listed on the attached
 6   service list via one or more of the methods of service described below as indicated next to the
 7   name of the served individual or entity by a checked box:
 8          PERSONAL SERVICE: by personally hand-delivering or causing to be hand
            delivered by such designated individual whose particular duties include delivery of such
 9          on behalf of the firm, addressed to the individual(s) listed, signed by such individual or
            his/her representative accepting on his/her behalf. A receipt of copy signed and dated by
10          such an individual confirming delivery of the document will be maintained with the
            document and is attached.
11
            E-MAIL / E-FILE: Automatically through the court’s electronic filing system or by
12          transmitting a copy of the document to the electronic-mail address designated by the
            attorney or the party who has filed a written consent for such manner of service.
13
            FAX SERVICE: by transmitting to a facsimile machine maintained by the attorney or
14          the party who has filed a written consent for such manner of service.
15          MAIL SERVICE: by placing a true copy thereof enclosed in a sealed envelope with
            postage thereon fully prepaid, in the United States mail at Las Vegas, Nevada. I am
16          readily familiar with the firm’s practice of collection and processing correspondence by
            mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
17          same day with postage fully prepaid at Las Vegas, Nevada in the ordinary course of
            business. I am aware that on motion of the party served, service is presumed invalid if
18          postal cancellation date or postage meter date is more than one day after date of deposit
            for mailing an affidavit.
19

20          I declare that under penalty of perjury under the laws of the State of Nevada that the
21   above is true and correct. I further declare that I am employed in the office of a member of the
22   bar of this court at whose direction the service was made.
23

24

25                                                /s/ Ryan Gile

26                                                An employee of WEIDE & MILLER, LTD.
27

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     RRG-w-1897                                      3
 Case
  Case2:08-cv-01174-PMP-GWF
       2:08-cv-01174-PMP-GWF Document
                             Document 139
                                      138             Filed 11/18/10
                                                      Filed 11/19/10 Page
                                                                      Page4 4ofof4 4




 1                                       SERVICE LIST
 2           ATTORNEYS                        PARTIES                     METHOD OF
             OF RECORD                      REPRESENTED                    SERVICE
 3
     Mark G. Tratos, Esq.             Defendant/Counterclaimant
 4                                                                           Personal service
     Donald L. Prunty, Esq.
     Ronald D. Green, Jr., Esq.                                              Email / E-File
 5                                                                           Fax service
     GREENBERG TRAURIG, LLP                                                  Mail service
 6   3773 Howard Hughes Parkway
     Suite 400 North
 7   Las Vegas, NV 89169
 8

 9   Marc J. Randazza, Esq.           Defendant/Counterclaimant              Personal service
     Marc J. Randazza, P.A.                                                  Email / E-File
10   2 S Biscayne Blvd., Ste. 2600                                           Fax service
                                                                             Mail service
     Miami, FL 33131
11

12
     Clyde F. DeWitt, Esq.             Defendant/Counterclaimant             Personal service
13   Law Offices of Clyde DeWitt,                                            Email / E-File
     APC                                                                     Fax service
14                                                                           Mail service
     732 South Sixth Street, Suite 100
     Las Vegas, NV 89101-6948
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     RRG-w-1897                                  4
